EXHIBIT D

Kozak, Laure'n

From: Kozal<, Lauren

Sent: Tuesday` November18,2014 1:35 PlVl
To:

Cc:

Subject: investigative report

lmpo-rtan.ce: High

Hr "

Af'cer reviewing your requested changes to the investigative report, we have made some changes to the report For your
reference, | addressed each of the requests below; '
o Re-interview regarding timing: We asked ' during his interview about tim.ing.
didn't remember anything about the time and could not even give an estimate to what time he went to bed that
night. He explained that because it was so long ago and it was just a normal night for him he didn't have any
reason to remember specifics He shared the only details he could remember. Un'fortunately, will not be
able to clarify timing for the report
q lnclu-cie as a disputed fact that Cornplain'ant discussed with Respondent that she usually doesn’t sleep with
people she just met: lt is listed in the report as something that Cornplainant disputes..
~ Response to Respondent's statement regarding violent reaction: | have added a footnote about the violent
reaction.
v Clarification regarding _ comment We have deleted Respondent's reference regarding
comment. if it comes up at the hearing we can clarify, but it probably isn't worth noting in the report since
` it just appears in his witness notes. l think that it is clear that there wasjust a miscommunication about that
detail. 4
- St'rikin-g all references to second encounter: We cannot strike all references to the second eneounter. There is
some relevance |-iowever, we have stricken Flespondent’s comparison between the two encounters We have
also added the following policy language into the report: ”lndividuals with a previous or current intimate
relationship do not automatically give either initial or continued consent to sexual activity. Even in the context of
a re-|ationship, there must be mutually understandable communication that clearly indicates a willingness to
engage in sexual activity." _
¢ If Respondent is found not responsible, we cannot take disciplinary action against him. That includes requiring
him to withdraw from a course

 

Please let me know it you have any questions

Best regard's,
Lauren‘

 

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